                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               SOURTHERN DIVISION
                          CIVIL ACTION NO. 7:23-CV-117-FL

SHANNON MULLEN,                             )
                                            )
               Plaintiff,                   )
                                            )
       v.                                   )              ORDER
                                            )
ISAAC KRAMMES, in his                       )
individual capacity; and THE                )
TOWN OF SUNSET BEACH,                       )
NORTH CAROLINA                              )
                                            )
               Defendants.                  )
                                            )
_______________________________             )


       THIS MATTER is before the Court on the Defendant Town’s Motion for Leave to

Manually File an exhibit, which Defendant represents to the Court consists of a video recording

contained on a USB flash drive. The Court finds good cause exists to allow the manual filing of

this audio recording, identified as Exhibit C to the Declaration of Chief Kenneth Klamar and

contained on a USB flash drive.

       Accordingly, it is hereby ORDERED that the Defendant shall be allowed, pursuant to

Local Civil Rule 5.1(f), to manually file a copy of the Declaration of Chief Kenneth Klamar

attaching a USB flash drive containing Exhibit C.

       SO ORDERED, this the 28th day of February, 2024.


                                  __________________________________
                                  LOUISE W. FLANAGAN
                                  United States District Judge




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